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                           CENTRAL DISTRICT OF CALIFORNIA
   17
                                 SOUTHERN DIVISION
   18
        DONALD WAKEFIELD,                           Case No. 8:21-cv-1585-CJC-DFM
   19

   20   Plaintiff,                                  PLAINTIFF DONALD WAKEFIELD’S
                                                    MEMORANDUM IN SUPPORT OF
   21   v.                                          MOTION FOR PARTIAL SUMMARY
                                                    JUDGMENT
   22   IGOR OLENICOFF, OLEN
        PROPERTIES CORP.; and DOES 1                Hearing Date: December 12, 2022
   23
        through 10, inclusive,                      Time:         1:30 P.M.
   24                                               Courtroom: 9B
        Defendants,                                 Complaint Filed: September 27, 2021
   25                                               Trial Date: February 21, 2023
   26                                               Assigned to: Hon. Cormac Carney
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    1   I.      INTRODUCTION
    2           Some seven years after being found liable for infringing Plaintiff Donald
    3   Wakefield’s copyrighted sculpture Untitled seven times at commercial properties in
    4   California—and after then having been caught concealing an eighth infringing
    5   sculpture at another California property—Defendants Igor Olenicoff and Olen
    6   Properties Corp. (collectively, the “Olen Parties”) were caught again.            Mr.
    7   Wakefield received a tip disclosing that the Olen Parties had lied about and
    8   concealed two more infringing sculptures, which were on public display at an Olen
    9   property in Florida. Despite an award of $450,000 by the jury in the original lawsuit,
   10   and despite the permanent injunction prohibiting further infringement and ordering
   11   them to remove and destroy all of their knockoff sculptures, the Olen Parties decided
   12   to defy the Court, rely on blatantly false representations of compliance, and gamble
   13   that Mr. Wakefield would never find out what they were doing on the other side of
   14   the country.
   15           The Olen Parties have no real defense to Mr. Wakefield’s claim of copyright
   16   infringement. The validity of Mr. Wakefield’s copyright and the infringment of that
   17   copyright by the knockoffs that the Olen Parties call Human Nature’s Many Faces
   18   and A Tear Must Fall were already determined after a full jury trial in the first
   19   Wakefield lawsuit. The Olen Parties openly admit that the infringing works were
   20   displayed on their properties years after they represented that all such works had
   21   been destroyed.     Instead, they attempt to somehow derive protection from a
   22   settlement agreement that they fraudulently obtained while concealing the
   23   infringements in Florida. In a classic case of blaming the victim, they even purport
   24   to sue Mr. Wakefield for supposedly violating the settlement. But that fraudulently
   25   obtained agreement does not and cannot exempt them from liability for their
   26   concealed acts of post-settlement infringement. The Court should bring this charade
   27   to an end and grant Mr. Wakefield partial summary judgment on his claims for
   28   copyright infringement against Olen and on both of the Olen Parties’ counterclaims
                                                  1
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    1   for breach of the settlement agreement.
    2   II.      UNCONTROVERTED MATERIAL FACTS
    3            This is the third lawsuit that Mr. Wakefield has had to file against the Olen
    4   Parties for copyright infringement based on their unauthorized display of copies of
    5   his large, granite sculpture referred to as Untitled.
    6            Mr. Wakefield’s first lawsuit against the Olen Parties (Wakefield I) took place
    7   in this District and concerned seven knockoff copies or forgeries of Untitled that
    8   were on public display at Olen-controlled properties in California. (Statement of
    9   Undisputed Material Facts (“SUMF”) at ¶¶1-2.) At trial, the jury was presented
   10   evidence of Mr. Wakefield’s copyright registration (SUMF at ¶4) and photographs
   11   of the knockoff sculptures displayed on the Olen Parties’ properties in California,
   12   which they referred to as Human Nature’s Many Faces and A Tear Must Fall.
   13   (SUMF at ¶¶6, 8.)1 The Olen Parties were represented by counsel. (SUMF at ¶9.)
   14   Following the close of evidence, the jury returned a verdict finding that: Mr.
   15   Wakefield owned a valid copyright in the sculpture Untitled (SUMF at ¶10); the
   16   Olen Parties committed direct, contributory and vicarious infringement of the
   17   copyright (SUMF at ¶¶11-15); and Mr. Wakefield sustained actual damages totaling
   18   $450,000 (SUMF at ¶16).
   19            Following the jury’s verdict in Wakefield I, the Court entered a permanent
   20   injunction against the Olen Parties, barring them from infringing Mr. Wakefield’s
   21   copyrighted sculpture and ordering them to destroy all copies of Human Nature’s
   22   Many Faces and A Tear Must Fall. (SUMF at ¶17.) The jury verdict and permanent
   23   injunction from Wakefield I were later upheld on appeal by the Ninth Circuit Court
   24
        1
   25     During the course of the Wakefield I litigation, the Olen Parties repeatedly referred
        to the infringing sculptures by the names Human Nature’s Many Faces and A Tear
   26
        Must Fall. Their use of these names for those sculptures, as well as for the ninth
   27   and tenth infringing sculptures at issue in this case, reinforces the applicability of
        collateral estoppel in this case and is not intended to indicate that they constitute
   28
        separate works from the copyrighted sculpture at issue, Untitled.
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    1   of Appeals. (SUMF at ¶18.) Thereafter, the Olen Parties filed sworn declarations
    2   with the Court in Wakefield I representing that all of the infringing works had been
    3   removed from and destroyed in July of 2017. (SUMF at ¶¶23-26.)
    4           Mr. Wakefield filed his second lawsuit against the Olen Parties (Wakefield II)
    5   after discovering another, eighth infringing copy on display that had not been
    6   previously disclosed by the Olen Parties during Wakefield I. (SUMF at ¶¶20-22.)
    7   This second lawsuit was resolved by way of a settlement agreement (the “Settlement
    8   Agreement”) between the parties executed on January 18, 2018. (SUMF at ¶¶27-
    9   28.) The Olen Parties’ counsel assured Mr. Wakefield’s counsel that all copies of
   10   the sculptures had been destroyed. (SUMF at ¶¶24-25.) Olen Properties filed a
   11   Notice of Compliance with the Court, stating that “all copies of Human Nature’s
   12   Many Faces and A Tear Must Fall have been removed and destroyed.” (SUMF at
   13   ¶26.)
   14           The instant case arose following the discovery of two more previously
   15   undisclosed infringing copies of Mr. Wakefield’s copyrighted sculpture, those two
   16   being the ninth and tenth copies now discovered. As a result of receiving a tip, Mr.
   17   Wakefield learned that, despite the Olen Parties’ prior representations about having
   18   destroyed all of the infringing works, Olen continued to publicly display a copy of
   19   Human Nature’s Many Faces and A Tear Must Fall at its property in Florida from
   20   January 19, 2018, until sometime in 2021. (Wakefield Decl. at ¶¶9-11 & Exs. A-B;
   21   SUMF at ¶¶29-33.)        Following his discovery of these additional, previously
   22   undisclosed infringing copies, Mr. Wakefield filed this lawsuit against the Olen
   23   Parties for direct, contributory and vicarious copyright infringement and statutory
   24   damages for under 17 U.S.C. §504 because the infringement was committed
   25   willfully (Counts I-III); civil conspiracy (Count IV); fraud in the inducement of the
   26   Wakefield II Settlement Agreement (Count V); and civil RICO (Count VI).
   27           For their part, the Olen Parties have each filed counterclaims against Mr.
   28   Wakefield for allegedly breaching the Wakefield II Settlement Agreement by filing
                                               3
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    1   the instant action (Counterclaim Count I) and further asking the Court to order
    2   specific performance of the Wakefield II Settlement Agreement (Counterclaim
    3   Count II) by way of dismissing Mr. Wakefield’s claims in this lawsuit or ordering
    4   him to return the consideration previously paid by the Olen Parties as part of the
    5   same.2
    6          The Court should now enter partial summary judgment in favor of Mr.
    7   Wakefield and against Olen on his claims of direct, contributory and vicarious
    8   copyright infringement and statutory damages under 17 U.S.C. §504 because the
    9   Olen Parties are collaterally estopped from denying that Mr. Wakefield owns the
   10   copyright in Untitled and that the unauthorized public display of Human Nature’s
   11   Many Faces and A Tear Must Fall constitutes infringement of that copyright.
   12   Undisputed facts establish that Olen publicly displayed Human Nature’s Many
   13   Faces and A Tear Must Fall on its property at Quantum Town Center in Boynton
   14   Beach, Florida, from January 19, 2018, until sometime in 2021, without
   15   authorization.
   16          The Court should further enter summary judgment in favor of Mr. Wakefield
   17   on the Olen Parties’ counterclaims for the alleged breach and specific performance
   18   of the Wakefield II Settlement Agreement, because that fraudulently obtained
   19   agreement does not shield the Olen Parties from liability for future infringement
   20   taking place after the agreement was executed, and because it is unenforceable under
   21   California law to the extent it precludes liability for the Olen Parties’ intentional,
   22   unlawful acts.
   23   ////
   24   ////
   25
        2
          The Court previously dismissed the Olen Parties’ other counterclaim for a
   26
        declaratory judgment regarding the validity of Mr. Wakefield’s copyright
   27   registration for Untitled because the same issue was previously litigated in
        Wakefield I and the Olen Parties are barred from re-litigating it under the doctrine
   28
        of issue preclusion. (Doc. 91).
                                                 4
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    1   III.   SUMMARY JUDGMENT IS APPROPRIATE ABSENT GENUINE DISPUTES OF
               MATERIAL FACT.
    2

    3          Summary judgment is proper where the pleadings, the discovery and
    4   disclosure materials on file, and any affidavits show that “there is no genuine dispute
    5   as to any material fact and the movant is entitled to judgment as a matter of law.”
    6   Fed R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
    7   The party seeking summary judgment bears the initial burden of demonstrating the
    8   absence of a genuine issue of material fact. Celotex Corp., 477 U.S. at 325. A factual
    9   issue is “genuine” when there is sufficient evidence such that a reasonable trier of
   10   fact could resolve the issue in the nonmovant's favor. Anderson v. Liberty Lobby,
   11   Inc., 477 U.S. 242, 248 (1986). A fact is “material” when its resolution might affect
   12   the outcome of the suit under the governing law and is determined by looking to the
   13   substantive law. Id. “Factual disputes that are irrelevant or unnecessary will not be
   14   counted.” Id. at 249.
   15          Where the movant will bear the burden of proof on an issue at trial, the movant
   16   “must affirmatively demonstrate that no reasonable trier of fact could find other than
   17   for the moving party.” Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th
   18   Cir. 2007). In contrast, where the nonmovant will have the burden of proof on an
   19   issue at trial, the moving party may discharge its burden of production by either (1)
   20   negating an essential element of the opposing party's claim or defense, Adickes v.
   21   S.H. Kress & Co., 398 U.S. 144, 158–60 (1970), or (2) showing that there is an
   22   absence of evidence to support the nonmoving party's case, Celotex Corp., 477 U.S.
   23   at 325. Once this burden is met, the party resisting the motion must set forth, by
   24   affidavit, or as otherwise provided under Rule 56, “specific facts showing that there
   25   is a genuine issue for trial.” Anderson, 477 U.S. at 256. A party opposing summary
   26   judgment must support its assertion that a material fact is genuinely disputed by (i)
   27   citing to materials in the record, (ii) showing the moving party's materials are
   28   inadequate to establish an absence of genuine dispute, or (iii) showing that the
                                                5
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    1   moving party lacks admissible evidence to support its factual position. Fed. R. Civ.
    2   P. 56(c)(1)(A)–(B). The opposing party may also object to the material cited by the
    3   movant on the basis that it “cannot be presented in a form that would be admissible
    4   in evidence.” Fed. R. Civ. P. 56(c)(2). But the opposing party must show more than
    5   the “mere existence of a scintilla of evidence”; rather, “there must be evidence on
    6   which the jury could reasonably find for the [opposing party].” Anderson, 477 U.S.
    7   at 252. “If the court does not grant all the relief requested by the motion, it may
    8   enter an order stating any material fact − including an item of damages or other relief
    9   − that is not genuinely in dispute and treating the fact as established in the case.”
   10   Fed. R. Civ. P. 56(g).
   11   IV.    OLEN IS INDISPUTABLY LIABLE FOR DIRECT COPYRIGHT INFRINGEMENT.
   12          “To establish direct copyright infringement, [the plaintiff] must show that he
   13   owns the copyright, and that [the defendant] violated one of the exclusive rights in
   14   copyright set forth in 17 U.S.C. §106.” Bell v. Wilmott Storage Services, LLC (9th
   15   Cir. 2021) 12 F.4th 1065, 1071. Under the Copyright Act, this includes a violation
   16   of an owner’s exclusive rights to: “reproduce the copyrighted work in copies”;
   17   “prepare derivative works based upon the copyrighted work”; and “display the
   18   copyrighted work publicly.” 17 U.S.C. §106(1), (2), (5).
   19          Mr. Wakefield is entitled to summary judgment against Olen for direct
   20   copyright infringement because the jury in Wakefield I already determined that (A)
   21   he owns the copyright to Untitled; and (B) the unauthorized public display of Human
   22   Nature’s Many Faces and A Tear Must Fall constitutes infringement of the
   23   copyright; additionally, it is undisputed that (C) Olen publicly displayed Human
   24   Nature’s Many Faces and A Tear Must Fall on its commercial property at Quantum
   25   Town Center in Boynton Beach, Florida, from 2014 until sometime in 2021, without
   26   authorization.
   27   ////
   28   ////
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    1         A.     Mr. Wakefield’s Owns a Valid Copyright in Untitled.
    2          “Collateral estoppel, or issue preclusion, bars the relitigation of issues
    3   actually adjudicated in previous litigation between the same parties.” Clark v. Bear
    4   Stearns & Co., Inc., 966 F.2d 1318, 1320 (9th Cir.1992). “The rationale underlying
    5   the doctrine is that a party who has litigated an issue and lost should be bound by
    6   that decision and cannot demand that the issue be decided a second time.” Applied
    7   Med. Res. Corp. v. U.S. Surgical Corp., 352 F. Supp. 2d 1119, 1124 (C.D. Cal.
    8   2005). “Collateral estoppel … has dual purpose of protecting litigants from the
    9   burden of relitigating an identical issue with the same party or his privy and of
   10   promoting judicial economy by preventing needless litigation.” Parklane Hosiery
   11   Co., Inc. v. Shore, 439 U.S. 322, 326, 99 S. Ct. 645, 649, 58 L. Ed. 2d 552 (1979)
   12         To invoke collateral estoppel, a party must demonstrate: “(1) the issue at stake
   13   was identical in both proceedings; (2) the issue was actually litigated and decided in
   14   the prior proceedings; (3) there was a full and fair opportunity to litigate the issue;
   15   and (4) the issue was necessary to decide the merits.” Oyeniran v. Holder, 672 F.3d
   16   800, 806 (9th Cir. 2012). “[O]nce an issue is raised and determined, it is the entire
   17   issue that is precluded, not just the particular arguments raised in support of it in the
   18   first case.” Kamilche Co. v. United States, 53 F.3d 1059, 1063 (9th Cir. 1995).
   19         Applied here, collateral estoppel precludes the Olen Parties from challenging
   20   the validity of Mr. Wakefield’s copyrights to Untitled. This was an element of Mr.
   21   Wakefield’s claims in Wakefield I for infringement of the very same copyrighted
   22   sculpture. Indeed, whether or not Plaintiff was the owner of a valid copyright in
   23   Untitled was the very first question answered by the jury in the special verdict
   24   delivered at trial. (SUMF at ¶10.) So there is no doubt that the ownership issue was
   25   actually litigated and decided in Wakefield. And because the Olen Parties were
   26   represented by counsel (SUMF at ¶9) and actively litigated through trial and appeal
   27   all the way to seeking review by the Supreme Court (SUMF at ¶18), there is also no
   28   question that they had a full and fair opportunity to litigate the issue of ownership
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    1   in Wakefield I. Accordingly, collateral estoppel precludes Olen from challenging
    2   the determination in Wakefield I that Mr. Wakefield is the valid owner of the
    3   copyright in the sculpture, Untitled.
    4          B.     The Unauthorized Public Display Of Human Nature’s Many Faces
    5                 and A Tear Must Fall Infringed Mr. Wakefield’s Copyright In
                      Untitled.
    6

    7          The jury’s determination in Wakefield I also collaterally estops Olen from re-
    8   litigating whether the unauthorized public display of Human Nature’s Many Faces
    9   and A Tear Must Fall constituted infringement of Mr. Wakefield’s copyright in
   10   Untitled.
   11          This issue is also identical to what the jury decided in Wakefield I. Although
   12   the location of the public display is different in this case, the issue of whether the
   13   unauthorized public display of Human Nature’s Many Faces and A Tear Must Fall
   14   alone infringes upon Mr. Wakefield’s copyright in Untitled is the same. At the trial
   15   in Wakefield I, the jury was presented photographs of Untitled and the unauthorized
   16   knock-offs displayed at Olen’s properties in California, which the Olen Parties
   17   referred to as Human Nature’s Many Faces and A Tear Must Fall. (SUMF at ¶¶5-
   18   8.) After the close of evidence, the jury determined that these displays infringed
   19   upon Mr. Wakefield’s copyright. (SUMF at ¶11.) Indeed, in their unsuccessful
   20   appeal of the jury’s determine in Wakefield I, the Olen Parties admitted that this was
   21   an issue, stating in their appellate brief:
   22
               Wakefield is an artist who contended that two sculptures (“Human
   23          Nature’s Many Faces” (“Human Nature”) and “A Tear Must Fall,”
               (“Tear”)) infringed sculpture entitled “Untitled . . . .”
   24

   25   (SUMF at ¶19.)
   26          There can be no dispute that the Olen Parties vigorously contested this issue
   27   at trial in Wakefield I, in their failed appeal to both the Ninth Circuit Court of
   28   Appeals, and even in a petition to United States Supreme Court for certiorari
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    1   (SUMF at ¶18), leaving no dispute that they had a full and fair opportunity to
    2   litigate the issue.
    3          For these reasons, collateral estoppel precludes re-litigation over whether the
    4   unauthorized public display of the sculptures referred to by the Olen Parties as
    5   Human Nature’s Many Faces and A Tear Must Fall constituted infringement of Mr.
    6   Wakefield’s copyrighted work Untitled.        As was determined in Wakefield I,
    7   displaying those works without authorization constituted infringement.
    8
               C.     Human Nature’s Many Faces and A Tear Must Fall Were Publicly
    9                 Displayed by Olen Without Authorization from at Least January
   10                 19, 2018, until 2021.
   11          Lastly, Mr. Wakefield is entitled to summary judgment against Olen on his
   12   claim for direct copyright infringement because there is no dispute that Olen
   13   publicly displayed the infringing copies known as Human Nature’s Many Faces and
   14   A Tear Must Fall on its property in Florida from January 19, 2018, until sometime
   15   in 2021.
   16                 1.      Human Nature’s Many Faces and A Tear Must Fall Were
   17                         Publicly Displayed at Quantum Town Center from 2018 to 2021.
   18          Olen and Olenicoff both flatly admit in their separately filed Answers in the
   19   instant case that Human Nature’s Many Faces and A Tear Must Fall were publicly
   20   displayed from 2018 to 2021 at Quantum Town Center. (Doc. 62, at ¶¶38-39; Doc.
   21   63, at ¶¶38-39.) These are judicial admissions that “have the effect of withdrawing
   22   a fact from issue and dispensing wholly with the need for proof of the fact.”
   23   American Title Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988).
   24   Further, Mr. Olenicoff repeated this admission during his recent deposition and
   25   testified that Human Nature’s Many Faces and A Tear Must Fall were publicly
   26   displayed until approximately 2021 at Quantum Town Center. (SUMF at ¶¶29-30;
   27   see also Wakefield Decl. at ¶¶9-11 & Exs. A-B (Mr. Wakefield personally saw the
   28   sculptures on public display and photographed them.).) This evidence conclusively
                                                9
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    1   establishes that both Human Nature’s Many Faces and A Tear Must Fall were on
    2   public displayed at Olen’s property. See Yeager v. Bowlin, 693 F.3d 1076, 1080 (9th
    3   Cir. 2012) (“a party cannot create an issue of fact by an affidavit contradicting his
    4   prior deposition testimony.”)
    5                2.     Quantum Town Center is Owned and Controlled by Olen.
    6
        There is also no dispute that Quantum Town Center is a commercial and retail

    7
        property complex owned and controlled by Olen. (SUMF at ¶¶31-33.) Olen

    8
        acknowledged this in a sworn affidavit it filed earlier in this case, stating that

    9
        Quantum Town Center is a retail property complex operated by Olen and owned by

   10
        an Olen subsidiary called Quantum Town Center, LLC (Doc 22-2, ¶¶5-9) by and

   11
        sworn deposition testimony by Mr. Olenicoff on behalf of Olen and as its corporate

   12
        representative in a different lawsuit earlier this year. (Brockland Decl., Ex. 25 at

   13
        10:13-18 (Olenicoff 1-31-22 Deposition Transcript).) Accordingly, the undisputed

   14
        facts are that Human Nature’s Many Faces and A Tear Must Fall were publicly

   15
        displayed at a commercial and retail property complex owned and controlled by

   16
        Olen duringthe period from January 18, 2018, until 2021.

   17                3.     The Public Display       at   Quantum     Town     Center   Was
                            Unauthorized.
   18

   19         Lastly, there is no dispute that Olen was not authorized to publicly display
   20   Human Nature’s Many Faces and A Tear Must Fall at Quantum Town Center.
   21   (SUMF at ¶34.)
   22         Under the Copyright Act, the “exclusive right” to publicly display copies of
   23   Untitled or derivative works belonged to Mr. Wakefield. 17 U.S.C. §106. In his
   24   sworn declaration, Mr. Wakefield states unequivocally that he never gave
   25   permission to either of the Olen Parties to display his sculpture. Id. This leaves no
   26   dispute. Only Mr. Wakefield could authorize the display at Quantum Town Center.
   27   His sworn declaration establishes that he never did, and the Olen Parties do not
   28   allege otherwise.
                                               10
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    1          Olen cannot create a dispute by pointing to Mr. Wakefield’s release of
    2   “unknown” and “unsuspected” claims in the Wakefield II Settlement Agreement
    3   either. First, the agreement does not authorize any display of Mr. Wakefield’s
    4   copyrighted sculpture by the Olen Parties. There is no mention of the Florida
    5   knockoffs—which the Olen parties were concealing from Mr. Wakefield—and the
    6   parties’ clear intent was that all infringing sculptures were eliminated. Nor is there
    7   any mention of Quantum Town Center in the release, or any of Olen’s Florida
    8   properties for that matter.   None of the terms in the Wakefield II Settlement
    9   Agreement even hint at giving the Olen Parties the right to display Mr. Wakefield’s
   10   copyrighted sculpture at Quantum Town Center. So the agreement cannot create
   11   any genuine dispute about whether the display at Quantum Town Center was
   12   authorized.
   13          Second, even if Mr. Wakefield’s release could somehow be interpreted as a
   14   sort of post hoc license for any “known or unknown” infringing displays, it would
   15   only extend to the date of the settlement itself: January 18, 2018. Even then, there
   16   could be no dispute over whether the display was authorized after that date.
   17   Accordingly, it remains undisputed that the display was unauthorized during the
   18   period from January 19, 2018, until sometime in 2021, when the unauthorized copies
   19   were apparently removed.
   20          There is no dispute that Human Nature’s Many Faces and A Tear Must Fall
   21   were publicly displayed on Olen’s property without Mr. Wakefield’s authorization
   22   from January 19, 2018, until sometime in 2021. Because the jury in Wakefield I
   23   already determined that Mr. Wakefield is the rightful owner of the copyright in
   24   Untitled and that the unauthorized public display of Human Nature’s Many Faces
   25   and A Tear Must Fall infringe that copyright, Mr. Wakefield is entitled to summary
   26   judgment against Olen for direct copyright infringement.
   27   ////
   28   ////
                                                11
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    1   V.      OLEN IS ALSO LIABLE FOR CONTRIBUTORY COPYRIGHT INFRINGEMENT.
    2           Contributory liability for copyright infringement requires a showing that the
    3   defendant “(1) has knowledge of another's infringement and (2) either (a) materially
    4   contributes to or (b) induces that infringement.” Perfect 10, Inc. v. Visa Int'l Serv.
    5   Ass'n, 494 F.3d 788, 802 (9th Cir. 2007). “Material contribution turns on whether
    6   the activity in question substantially assists direct infringement,” Louis Vuitton
    7   Malletier, S.A. v. Akanoc Sols., Inc., 658 F.3d 936, 943 (9th Cir. 2011) (internal
    8   quotation omitted).
    9           There is no dispute that Olen had knowledge that the infringing works,
   10   Human Nature’s Many Faces and A Tear Must Fall, were publicly displayed at
   11   Quantum Town Center from January 18, 2018, until sometime in 2021. (SUMF at
   12   ¶35.) The name and location of each was, indeed, included in the application Olen
   13   submitted to the City of Boynton Beach Art Commission in 2014 as part of its effort
   14   to satisfy municipal ordinances regarding the display of art in public places. (Id.)
   15   This leaves no question that Olen materially contributed to the public display of
   16   those infringing works at Quantum Town Center.
   17           It is also undisputed that, by the time all of its appeals were exhausted in
   18   Wakefield I in 2017, Olen was well aware that Human Nature’s Many Faces and A
   19   Tear Must Fall infringed Mr. Wakefield’s copyrights. Lest there be any doubt, the
   20   permanent injunction entered against Olen in Wakefield I identified those infringing
   21   works by name. (SUMF at ¶17.)
   22           Accordingly, there is no dispute that Olen knew about the infringement at
   23   Quantum Town Center from January 19, 2018, until 2021 and had directly
   24   participated in putting them there in the first place to satisfy municipal ordinances.
   25   For these reasons, Mr. Wakefield is entitled to partial summary judgment against
   26   Olen on the issue of liability for contributory copyright infringement.
   27   ////
   28   ////
                                                  12
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    1   VI.   OLEN IS LIABLE FOR VICARIOUS COPYRIGHT INFRINGEMENT AS WELL.
    2         Vicarious liability for copyright infringement is established by showing that
    3   the defendant “has (1) the right and ability to supervise the infringing conduct and
    4   (2) a direct financial interest in the infringing activity.” Perfect 10, Inc. v. Visa
    5   Intern. Service Ass'n (9th Cir. 2007) 494 F.3d 788, 802.
    6         The first element of vicarious liability is undisputed in view of Olen’s
    7   admission to operating the retail and commercial property where Human Nature’s
    8   Many Faces and A Tear Must Fall were publicly displayed from January 19, 2018,
    9   until 2021. (SUMF at ¶¶31-33.) The second element is also easily satisfied, because
   10   Olen admits to its patent relationship with Quantum Town Center and prior efforts
   11   to display the infringing works in order to satisfy the Boynton Beach municipal
   12   requirements regarding public displays of art. (SUMF at ¶¶33, 35.) So Olen’s
   13   financial interest in the infringement is clear as well.
   14   Mr. Wakefield is also entitled to summary judgment against Olen on the issue of
   15   liability for vicarious copyright infringement, because there is no dispute that Olen
   16   oversaw the infringing conduct and had a direct financial interest in it.
   17
        VII. OLEN IS LIABLE FOR WILLFUL COPYRIGHT INFRINGEMENT                            AND
   18        STATUTORY DAMAGES UNDER 17 U.S.C. §504.
   19         A.     Courts Find Willfulness as a Matter of Law Even on Facts Less
                     Compelling than Those Here.
   20

   21         “[T]o prove willfulness under the Copyright Act, the plaintiff must show (1)
   22   that the defendant was actually aware of the infringing activity, or (2) that the
   23   defendant's actions were the result of reckless disregard for, or willful blindness to,
   24   the copyright holder's rights.” Erickson Productions, Inc. v. Kast (9th Cir. 2019)
   25   921 F.3d 822, 833 Generally, a determination as to willfulness requires an
   26   assessment of a party's state of mind, a factual issue that is not usually susceptible
   27   to summary judgment. Sega Enter. Ltd. v. MAPHIA, 948 F.Supp. 923, 936
   28   (N.D.Cal.1996). But where it is undisputed that a defendant had prior notice of
                                               13
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    1   the infringement—as it is here—courts have repeatedly found willfulness as a
    2   matter of law. See e.g. Peer Int'l Corp. v. Pausa Records, Inc., 909 F.2d 1332, 1335–
    3   36 (9th Cir.1990) (willfulness as a matter of law where defendants received notice
    4   of the termination of their license and they continued to sell the copyrighted work
    5   anyway); see also Dolman v. Agee, 157 F.3d 708, 715 (9th Cir. 1998) (“Because
    6   Agee continued to infringe on the song copyrights when he knew that there was a
    7   question as to their ownership, and when he was presented with evidence that
    8   Dolman was the true owner, the district court did not err in finding that Agee's
    9   infringement was willful.”). For example, in Peer International, the Ninth Circuit
   10   affirmed a summary judgment of willful infringement and an award of $4 million in
   11   statutory damages, even though the defendant submitted a “declaration that it was
   12   not [its] intention to infringe upon the plaintiffs’ copyrights,” in view of an
   13   admission by the defendant’s witness that it had continued to manufacture and
   14   distribute products after being notified of license termination. 909 F.2d at 1335-36.
   15   The court held that, “To refute evidence of willful infringement, [the defendant]
   16   must not only establish its good faith belief in the innocence of its conduct, it must
   17   also show that it was reasonable in holding such a belief.” Id. at 1336 (citing 3 M.
   18   Nimmer & D. Nimmer, Nimmer on Copyright § 14.04[B], at 14–40.3 (1989)). The
   19   same reasoning must apply even more strongly in the present case, where the
   20   defendants were notified of infringement—not just by a licensor—but by a jury, a
   21   District Judge, and even the Ninth Circuit, by means of an infringement verdict,
   22   damage award, and permanent injunction. (See SUMF 10-18.)
   23         Similar results have obtained in multiple other cases, where courts found
   24   willful infringement as a matter of law, even on facts less compelling than those of
   25   this case.   For example, in L.A. Printex Indus., Inc. v. Lia Lee, Inc., CV 08-
   26   1836ODW(PJWX), 2009 WL 789877, at *7 (C.D. Cal. Mar. 23, 2009), the court
   27   found willfulness as a matter of law where the defendant sold the accused product
   28   nearly seven months after it “had notice of Plainitff’s cease and desist letter. And
                                               14
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    1   in Wall Mountain Co., Inc. v. Edwards, C 08-2579 PVT, 2010 WL 4940778, at *2
    2   (N.D. Cal. Nov. 30, 2010), the court granted summary judgment of willful
    3   infringement because the defendant had resumed selling accused products after
    4   being notified of the plaintiff’s copyright claims, without investigating them. The
    5   court held:
    6           Despite having been notified of Plaintiff's copyright claims, and despite
    7           having taken no steps to ascertain whether his sales of the DVDs
    8           violated Plaintiff's copyrights, Defendant resumed sales of the DVDs.
    9           At a minimum, this constituted reckless[] disregard for the possibility
   10           that his sales of the DVDs violated Plaintiff's copyrights.
   11   Id.; see Broad. Music, Inc. v. Crawford, 1:12-CV-01903-JLT, 2014 WL 1285660,
   12   at *6 (E.D. Cal. Mar. 28, 2014) (willfulness as a matter of law where Defendant
   13   continued infringement after receiving several telephone calls from copyright
   14   owner’s representatives); Sega Enterprises Ltd. v. MAPHIA, 948 F. Supp. 923, 936
   15   (N.D.     Cal.   1996);    Atl.     Recording     Corp.   v.   Media    Group,      Inc.,
   16   CV0006122FMCMCX, 2001 WL 37132610, at *5 (C.D. Cal. Aug. 14, 2001)
   17   (willfulness as a matter of law where Defendant admitted that it did not stop filling
   18   customer orders for products known to be infringing). There can be no question that
   19   the same result should follow here, where Olen had lost a jury trial on infringement
   20   of mr. Wakfield’s sculpture, had lost on appear. Had been required to pay damages,
   21   and had been permanently enjoined from further infringement and ordered to
   22   destroy all copies of Human Nature’s Many Faces and A Tear Must Fall. (See
   23   SUMF at ¶10-18.)
   24           Still further proof of Olen’s willfulness is provided by its concealment of the
   25   infringement.      See    Sanrio,     Inc.   v.    Ronnie      Home    Textile,     Inc.,
   26   CV1406369RSWLJEMX, 2016 WL 5956096, at *9 (C.D. Cal. Jan. 5, 2016)
   27   (finding willfulness as a matter of law where defendants took steps to conceal their
   28   infringement by “by storing the infringing merchandise in a separate part of
                                               15
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    1   Defendants' store, concealed in opaque packaging, and not accessible to the general
    2   public …. [and] accessible only to Defendants' employees and customers who had
    3   gained Defendants' trust”). There can be no dispute that Olen falsely represented on
    4   multiple occasions that it had destroyed these infringing works (SUMF at ¶¶23-26)
    5   when, in fact, it had not. (SUMF at ¶¶29-30.) These undisputed facts further
    6   demonstrate that Olen’s continued infringement was willful.
    7         B.     Olen Violated the Wakefield I Permanent Injunction.
    8         Olen’s continued display of the very same infringing works that the Court in
    9   Wakefield I ordered be destroyed as part of its permanent injunction is more than
   10   enough to show willfulness. See Peer, 909 F.2d at 1335–36. The permanent
   11   injunction was abundantly clear: Olen must destroy all copies of Human Nature’s
   12   Many Faces or A Tear Must Fall. (SUMF at ¶17.) The injunction ended with: “The
   13   Court expects strict compliance with this Judgment.” (Brockland Decl., Ex. 11.)
   14         That Olen undisputedly continued to publicly display the infringing
   15   sculptures for years thereafter leaves no question that the infringement was willful.
   16   Over and over again, defendants with far less official notice than the permanent
   17   injunction following a contested jury trial received by Olen have been found to
   18   willfully infringe as a matter of law for continuing. See, e.g., Peer, 909 F.2d at 1335–
   19   36 (willfulness found as matter of law where defendants received notice of the
   20   termination of their license and they continued to sell the copyrighted work
   21   anyway); Printex, 2009 WL 789877, at *7 (willfulness as a matter of law when
   22   defendant still sold copyrighted garment 7 months after receiving cease and desist
   23   letter); Wall Mountain Co., Inc., 2010 WL 4940778, at *2 (willfulness as a matter
   24   of law where Defendant resumed selling copyrighted DVDs after being notified of
   25   Plaintiff’s copyright claims); Atl. Recording Corp., 2001 WL 37132610 at *5
   26   (willfulness as a matter of law where Defendant admitted that it did not stop filling
   27   customer orders for products known to be infringing); Dolman, 157 F.3d at 715
   28   (willfulness as a matter of law where Defendant continued to infringe on song
                                               16
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    1   copyrights after being presented with evidence that he was not true owner of
    2   copyright); Broad. Music, Inc., 2014 WL 1285660 at *6 (willfulness as a matter of
    3   law where Defendant continued infringement after receiving several telephone calls
    4   from copyright owner’s representatives).
    5         Just as with those defendants, there is no dispute about whether Olen’s
    6   continued infringement here was willful. Olen knew that Human Nature’s Many
    7   Faces and A Tear Must Fall infringed upon Mr. Wakefield’s copyright. Olen knew
    8   that the Court in Wakefield I had ordered it to destroy all of those works. And Olen
    9   continued to publicly display them anyway. If that is not willful infringement, then
   10   nothing is.
   11         C.      Olen Submitted a False Declaration.
   12         In addition to the permanent injunction that Olen ignored and violated, it is
   13   also undisputed that Olen concealed the infringement by falsely representing on
   14   multiple occasions that:
   15         •       “all copies and derivative works of Untitled had been removed from all
   16                 Olen controlled properties in July of 2017” (SUMF at ¶23); and
   17         •       “all copies of Human Nature’s Many Faces and A Tear Must Fall have
   18                 been removed and destroyed.” (SUMF at ¶26.)
   19         Both representations were made in writing and filed by Olen with this Court
   20   during the course of Wakefield I and Wakefield II. Id. Both representations were,
   21   we know now, false. And it is undisputed that, at the time each was made, copies
   22   of Human Nature’s Many Faces and A Tear Must Fall were on public display at
   23   Olen’s property in Florida. (SUMF at ¶¶29-30.) They had not, as Olen repeatedly
   24   represented in writing, destroyed all their knockoffs. Instead, they continued to be
   25   displayed two more of them publicly at Olen’s property for years thereafter.
   26         There is no doubt, either, that these falsehoods concealed Olen’s continued
   27   ongoing infringement in Florida. Telling Mr. Wakefield and the Court that all of
   28   the copies of Human Nature’s Many Faces and A Tear Must Fall had been destroyed
                                               17
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    1   concealed the fact that Olen was actually still publicly displaying them on its
    2   property in Florida thousands of miles away. These undisputed efforts to conceal
    3   the infringement further compel but one conclusion: that Olen’s infringement was
    4   willful. See Sanrio, Inc. 2016 WL 5956096, at *9 (willfulness as a matter of law
    5   where defendants took steps to conceal their infringement “by storing the infringing
    6   merchandise in a separate part of Defendants' store, concealed in opaque packaging,
    7   and not accessible to the general public …. [and] accessible only to Defendants'
    8   employees and customers who had gained Defendants' trust.”) Accordingly, the
    9   Court should enter summary judgment in favor of Mr. Wakefield and against Olen
   10   for his claim for statutory damages under 17 U.S.C. §504.
   11   VIII. THE COUNTERCLAIMS FAIL BECAUSE WAKEFIELD’S RELEASE DOES NOT
   12
              EXTEND TO OLEN’S WILLFUL INFRINGEMENT THREE YEARS LATER.

   13          Finally, Mr. Wakefield is entitled to summary judgment on the Olen Parties’
   14   counterclaims for breach and specific performance of the Wakefield II Settlement
   15   Agreement. The settlement was not breached. Mr. Wakefield’s release did not give
   16   the Olen Parties a free pass to willfully infringe Mr. Wakefield’s copyrights three
   17   years later.
   18          A.      Releases for Future Intentional Torts Are Unenforceable.
   19          “All contracts which have for their object, directly or indirectly, to exempt
   20   anyone from responsibility for his own fraud, or willful injury to the person or
   21   property of another, or violation of law, whether willful or negligent, are against the
   22   policy of the law.” Cal. Civ. Code § 1668.
   23          California courts have repeatedly held that §1668 bars enforcement of any
   24   contractual release from liability for future intentional wrongs. See, e.g., SI 59 LLC
   25   v. Variel Warner Ventures, LLC, 29 Cal. App. 5th 146, 148, 239 Cal. Rptr. 3d 788,
   26   790 (2018) (“section 1668 negates a contractual clause exempting a party from
   27   responsibility for fraud or a statutory violation only when all or some of the elements
   28   of the tort are concurrent or future events at the time the contract is signed”);
                                                18
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    1   Frittelli, Inc. v. 350 N. Canon Drive, LP, 202 Cal. App. 4th 35, 43, 135 Cal. Rptr.
    2   3d 761, 769 (2011); Farnham v. Superior Court (Sequoia Holdings, Inc.), 60 Cal.
    3   App. 4th 69, 71, 70 Cal. Rptr. 2d 85, 86 (1997).
    4         The public policy underlying §1668 is sound. Nobody can contract for
    5   permission to commit future deliberate wrongdoing. Get-out-of-jail-free cards do
    6   not exist outside of Monopoly. Entering into a settlement agreement does not allow
    7   the settling parties to commit intentional torts against each other in the future without
    8   recourse. Yet, this is exactly the basis for the Olen Parties’ counterclaims. They
    9   claim that the release contained in the Wakefield II Settlement Agreement precludes
   10   liability for their willful copyright infringement years occurring years later and that
   11   Mr. Wakefield breached the settlement by bringing claims for such in the instant
   12   lawsuit. Their counterclaims fail under §1668 because they would require enforcing
   13   the release in a way that exempts them from liability for their violations of the
   14   Copyright Act and willful infringement years after the date of the Wakefield II
   15   Settlement Agreement. See Appel v. Boston Nat'l Title Agency, LLC, 3:18-CV-0873-
   16   RSH-AHG, 2022 WL 3582776, at *6 (S.D. Cal. Aug. 19, 2022) (“Section 1668
   17   prevents exemption of liability for future intentional wrong”); Kashani v. Tsann
   18   Kuen China Enter. Co., 118 Cal. App. 4th 531, 543, 13 Cal. Rptr. 3d 174, 181 (2004)
   19   (“a violation of federal law is a violation of law for purposes of determining whether
   20   or not a contract is unenforceable as contrary to the public policy of California”).
   21         B.     The Wakefield II Settlement Agreement Does Not Release Claims
   22
                     for Future Infringement.

   23         Even if a release of future intentional wrongdoing could be enforced
   24   enforceable under California law, the Olen Parties’ counterclaims would still fail,
   25   because the settlement did not include a release of any future claims. Indeed, the
   26   stated purpose of the Wakefield II Settlement Agreement was, “to settle and
   27   compromise all disputes and controversies existing among the Parties.” (Brockland
   28   Decl., Ex. 21 at §1.2. (emphasis added); SUMF at ¶28.) The terms go on to
                                               19
          PLAINTIFF DONALD WAKEFIELD’S MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL
                                     SUMMARY JUDGMENT
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    1   specifically state that “the releases provided for in this Agreement extend to all
    2   claims, whether or not claimed or suspected, up to and including the date of
    3   execution hereof.” (Brockland Decl., Ex. 21 at §3.3 (emphasis added).) In case
    4   there was any doubt about whether the release included claims for future intentional
    5   wrongdoing, the Parties each acknowledged therein that:
    6
               Wakefield is, through this Agreement, releasing the Olen Parties from
    7          any and all claims he may have against them arising before the
    8          execution of this Agreement.
    9   (Id. at §4.1.)
   10          There can be no dispute that Mr. Wakefield’s release was limited to claims
   11   arising on or before January 18, 2018, the date of the Wakefield II Settlement
   12   Agreement. Accordingly, the Olen Parties counterclaims fail because the release
   13   does not, and cannot under California law, exempt them from liability for future
   14   willful copyright infringement.
   15   IX.    CONCLUSION
   16          For all of the reasons explained above, Mr. Wakefield is entitled to summary
   17   judgment on his claims against Olen for direct, contributory and vicarious copyright
   18   infringement, for willful infringement, and for statutory damages under 17 U.S.C.
   19   §504, as well as on the Olen Parties’ counterclaims for breach and specific
   20   performance of the Wakefield II Settlement Agreement.
   21

   22   Dated: November 14, 2022              Respectfully submitted,
   23

   24
                                                 /s/ William J. O’Brien
   25                                            William J. O’Brien of One LLP
   26                                            Attorneys for Plaintiff, Donald Wakefield
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   28

                                                20
           PLAINTIFF DONALD WAKEFIELD’S MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL
                                      SUMMARY JUDGMENT
